82 F.3d 409
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Anthony CROWELL, Petitioner-Appellant,v.Ron ANGELONE, Director, Respondent-Appellee.
    No. 95-8549.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 21, 1996.Decided April 16, 1996.
    
      E.D.Va.
      DISMISSED.
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.   John A. MacKenzie, Senior District Judge.  (CA-95-566-N)
      Anthony Crowell, Appellant Pro Se.
      Before NIEMEYER and MICHAEL, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order dismissing without prejudice his 28 U.S.C. § 2254 (1988) petition.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we deny leave to proceed in forma pauperis, deny a certificate of probable cause to appeal, and dismiss the appeal on the reasoning of the district court.   Crowell v. Angelone, No. CA-95-566-N (E.D.Va. Nov. 29, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    